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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       PIKEVILLE

 UNITED STATES OF AMERICA,                      )
                                                )
       Plaintiff,                               )
                                                )           No. 7:18-CR-17-REW-EBA
 v.                                             )
                                                )
 SHIRLEY R. BLANKENSHIP,                        )                    ORDER
                                                )
         Defendant.                             )

                                         *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE #69) of United States

Magistrate Judge Edward B. Atkins, addressing Defendant Shirley Blankenship’s guilty plea as to

Count 1 of the Indictment (DE #15). See also DE #62 (Minute Entry). Defendant appeared before

Judge Atkins on March 11, 2019. See id. After consenting to plead before a United States

Magistrate Judge and engaging in the full colloquy required by Rule 11, she proceeded to plead

guilty. DE #68 at ¶¶ 1–2. Judge Atkins found Defendant competent to plead and that Defendant

did so in a knowing and voluntary fashion; he further found that an adequate factual basis

supported the plea as to each essential element of the charged offense. Id. at ¶ 2. Accordingly,

Judge Atkins recommended that the Court accept Defendant’s plea and adjudge her guilty of the

offense charged in Count 1 of the Indictment. Id. at ¶ 3.

       Defendant had ten days within which to object to Judge Atkins’s recommendation, and she

has not done so. See id. at 2–3. Nor has the United States objected. While this Court reviews de

novo those portions of a Recommended Disposition to which a party objects, see 28 U.S.C.

§ 636(b)(1), it is not required to “review . . . a magistrate[] [judge’s] factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

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Arn, 106 S. Ct. 466, 472 (1985). Where the parties do not object to the Magistrate Judge’s

recommended disposition, they waive any right to review. See Fed. R. Civ. P 59; United States v.

White, 874 F.3d 490, 495 (6th Cir. 2017) ("When a party . . . fails to lodge a specific objection to

a particular aspect of a magistrate judge's report and recommendation, we consider that issue

forfeited on appeal."); see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting

that "[t]he law in this Circuit is clear" that a party who fails to object to a magistrate judge's

recommendation forfeits his right to appeal its adoption).

       The Court thus ADOPTS the Recommended Disposition (DE #69), accepts the plea, and

ADJUDGES Shirley R. Blankenship guilty of Count 1 of the Indictment. The Court further

CANCELS the jury trial as to this Defendant. An Order scheduling sentencing follows.

       This the 26th day of March, 2019.




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